EXHIBIT A

 
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POL

Partners Online

These Conditions of Contract are an integrated agreement batween Purchaser and Vendor consialing of these Conddions of Contract, the tents contained in Purchaser's Parinors
Online system, including the Rudes of Use therein (oc any successor syatem fo Parinors Onin) (POL), any agreement(s) ontered into batwren Purchaser and Vendor (including
any agreements entered into through Purchaser's oniing syshama), any Purchase Qirder(s), and any allachments, inslructions or requirements funwhed to Vendor by Purchaser
(all of the foregoing are part of this agreement and ane refered to herein aa the Contract"), The Contract is binding with respect fo all business conducted between Purchaser and
Verdor and applies to and controls aff agreements related to the purchase of Goods by Purchaser fram Vendor (whather such purchase is made deectiy by Purchaser from
Vendor or through a tied party distnbutor or wholesaler), any Vendor Services (as such term @ defined herein), and aii agreements related to samples of tree Goods prowihed by
Vendor lo Purchaser or ite cuslomers,

Definitions
AAS used herein, the following terms will have the following meanings:

“Contract” has the meaning set forth a the introductory paragraph above:

“Goods” means. the Hems of merchandise thal ara fhe subject of tha Contract (inciuding compononts, peckaging, labeling, malruchons, printed matter, product descriptions,
Product deaapis, product mages, logos, copynghts, trademarks, service marks, trade names, trade dross, and visual and digital information of or related ta auch merchandise

“POL has the meaning sei forth in the insroduciory paragraph above

“Purchase Order” means any order by Purchases for the purchase of speciiid quanhiys of Goods at specified prices fram Vendor whether issued through aiecironic date
inlerchange (EDI) of otherwise

“Purchaser” mans, as appbcable, Target Comporahon, Tangel com, a division of Targed Corporation, Target Global Sourcing Lenaed, a subsciary of Targel Companation, Target
Sourcing Servces Limebed (135 Uid,), a subsdiary of Target Corporation, Target Sourcing Sennces LLC, a subsidiary of Target Corporaten, Target Enterprise, inc, a subwidrary of
Tangel Corporation, Tanget Food. Inc. a subsidiary of Targa! Canporation, Target General Merchandise, Inc. a subadiary of Target Corporation, of any other divisions or
tubtdianes of Target Corporation (whether acting as purchasing agent for any Targed Comporation division or subskiiery, of ae a diect putchasor),

“Wendor means ihe busmers parner hat regesiered for access to FOL of the recipient of Iho Contract, logather with the parents, subsidianes, and/or alffiales of such register ene
usiness partner or recap

1. Purchase Order. Purchaser's commilment to purchase Goods aviaes onty upon Purchaser's issuance of a Purchase Order to Vardar Any forcasts, commitments,
Projections, rapresentation about quantiles to be purchased or other eatimales provided to Vendor are for planning purposes only and shall nol be binding upon Purchaser,
ond Purchaser shall nol be lable for any anounis incuned by Vendor in nekance on such estimains

2 Acceptance, Validity, Terms. Without uniting the manner ot method of Vendor's acceptance of a Purchase Crider, @ Purchase Order ia deomed accapled by Vendhor a (1)
Vendor's wintten rejection of such Purchase Order is not received by Purchaser within Ime days after Vendor's receipt of such Purchase Order, or (li) poor to the expration af
auch five day period, Vendor commences work on or ships any portion of Goods ideniied in the Purchase Order, Acerplance is limiled to the Jerms of the Contect Any
Proposal ior ackhibonal or different lens, or any allampt by Wondor to vary any of the tema of the Contract in Verio's accaplancn, Ience, OF other document or actiealy, ts
hereby objected lo and rejected. if Purchaser's Gauance of a Purchase Order és for any roason deemed an acceptance of a prior offer by Vendor, such acceptance is limaled to
Ihe tenma.of the Contact

4. Shipment of Goods, Adequate Assurances. Time is of the essence with respect fo Vendor's performance under any Purchase Order, Goods must be shipped within datas
spectiod by Purchaser, not before or afer. Vendor shall potty Purchaser in the even! Goods cannot be shipped within the spectied dates. M reasanable grounds for insacurily
arige with respect fo the performance of Vander in connection with a Purchase Order, Purchaser may make a written demand to Vendor thal Vendor prowkie Purchaser with
adequate assurance of due performance. Until Purchaser receies such adequate assurance, Purchaser may suspend ils performance under the relavarl Purchase Order
After Wendor's receipt of such a. demand, failure by Vendor to provide such adequale assurance of dua penormance within five days is a repudiaben of lhe Purchase Order.
and Purchaser, of ite opbon, may resort to any and all remecers avedable to a for breach of the Contract.

4 Inspection, Goods aro subject to Purchaser's inspecton, but Purchaser is under no obligation to unpack or inspect Goots batore resins thereof Purchaser's inapoction,
testing, payment for of retention of Goods dogs nol (i) conabtute an acceptance of Goods nel in compliance wih the Goriract, (i) affect Purchaser's righl to paject or refamn
Goods, or (iil) constiuie a waver by Purchaser of any Vendor fepretontations, wanenties or guarantees, or any nghis of remedies of Purchaser under ihe Gonkhact

§. Broach. Any of the tofiewing is a breach of the Gontract by Vander
a Vendor's fadure io ship Goode within Ir dates specdied by Purchasor,

b, Goods are defective in whole or in part, ane no! of merchantable qualay or ane olhareme not fi for ie purposes sold:

6 any beach of Vendor's representalions, warranted or guaranties:

any dalay in delivery or performance of departure from delivery, rouling, hanging, Gdeoting, laboling or packaysng instructions:

any Gevialon from of vanabon in quantities, assortments, prices, of offer terme or conditions speniied in the Contract:

( echaim is made (whedher founded or unfounded) or Purchaser has reason to believe that (a) lhe Goods contain defects ov hazards that would create a substanbal risk of
injury to ary person or properly, or {b) the Goods or the purchase, display, design, manulaciuring, delivery, laboling, packaging. placement, advertising, promotion,
ireniportetion, markeling. disinbution, offer for sale of sale of Goods, or use of dimiribution of the Vendor Content (hereinafter defined) violates or will violate ay Laws.
(evctuding welhout lmdaton those related to safety, manufacturing, sale, labeding or iransporlabon), or inkwnges any aleped palenl, design, rade namo, indemark, service
mark, copyright, trade dress, night to preeacy, night of publicity, oF other similar proprietary or property right (each i “Froprintary Fight")

Q insolvency, reorgannalion, atrangenent, recewershep of quadaton of Vendor, Vendor makes a general assignment for the benefit of its creditors, Vendor cogasa to

Sclively conduct dt busaness, Vendor les a voluntary pelifeon tor bankruptcy or Vendor has filed agains! i an involuntary pabiion tor bankruptcy,

Werdors failure to tieely pay all aiounts owed by Vendor to iis suppers:

Vendor's shipment of Goods for which there rf not nn outstanding Purchase Order,

Purchaser has reason to bebeve Goods are marved in violation of applicable customs laws,

any other Laure Dy Vendor to limely and fully comply wilh any of ine terms of Ihe Coninact, or

Goods fad any best pursuant to any egal, Purchaser of other protoce! or standard,

P= +

Voncior hereby waives. any ght to cure a breach thal might otherness be avadable under law
€ Cancellation, Remedies, Recalls.
a Cancollation Vilhouwl Cause, Purchaser may cancel any Purchase Order, in whole of in parl, for ils convensnce, al any lime prior to shipment of Goods. lin the event of
Such cancellation, (i) Vendor thal immecralely stop all work under ihe reltvant Purchase Order and shall emediately caune any and all of itt suppliers or subcontractors to

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Cease such work, and (ii) Purchaser's Kabelty to Vendor shal ba limited tc the unit price of Goods completed prior to such cancellation, pius iw actual amount of Vendors
Costs reasonably incurred in contemplation of perlonmance of fe Canceled portion lage any amount saved by Vendor as a resull of such cancellation and any amounts
which could have reasonably been mitigated by Vendor, Including, withaul Lmitaton, work dena after the receipt of Ine notion of cancellation, costs incurred by Vender's
suppliers of subcontractors that Vendor could reasonably have avoided, and aemtounts realized by Vendor thom sate of Goods to third parties in accordance with the
Contract

b. Purchaser Romedies tor Breach in tho avert of any broach of Ine Contract by Vendor and subject to the ather forms of the Contract, Purchaser may at any time, as to any
oral Goods, withoul authorization from Wendor and in addition lo any other remedies Purchaser may have
\ ancept Goods,
i. cancel any Purchase Order;
i. roject and return Goods to Vendor at Vendor's expense:
Wo tefuse to recene Goods,
¥, Rvoke @ prior aoceplance of Goods and return Goods lo Vendor al Vendor's eqpense: ancivor
Vi. vine event the breach 1s an early shipeont of Goods, reject and return the Goods to Vendor a Vendor's expense to be held by Vendor for Purchaser untl the onginal

date spocifind

In the event of any of the foregoing, Purchaser shall mol be Gable to Vendor for any amount excep! lo pay for any Goods accepted by Purchaser (based on the und ence
of Goods ordered), subpect to Purchaser's right to deduct amounts owed to Purchaser by Vendor pursuant tothe Contract. Any cancellahon, repecton, refusal bo recenre
i revocation of prior acceplance by Purchaser with rosoect to any Goods shall not serve a8 a cancollation or rejection Of any tuture shipments of Goods, unless
Purchaser neerces its fight io cancel future Purchase Orders Acceptance of any Goods is not a waiver of any of Purchaser's rights or remedies urer the Gordract

In the even of any Breach of the Contract by Vendor, Vendor will be liable to Purchaser for (i) any direct and indirect damages, costs and expanses incurred oe
Sustained by Purchaser in connection with the breich, inchding fost profits, altomeys' fees and costs incurred by Purchaser in abtaining substitute Geode elsewhere,
{ii} any penalies, non-compliance fees, handling charges and cther amounts as set forth in tha Gontract, (i if praviously paid by Purchaser, the ful una peice of any
Goods that Purchaser has repected (of revoked ks acceptance ol), and (iv) the amount of any panailies or fines assessed against of incurred by Purchaser in
Conmnechon with tho beech, induding atiomeys fees incurred by Purchaser m defending aganst cr rasponding to such penalties or fines

© Purchaser Romedes Cumulative Each of Purchasers rights and remaces unde the Contract i: cumulalive and in addition io any other remedios provided in law or
equily, including the Uindicrmn Commercial Code

Limitation of Vendor Remedies Inno instance will Purchaser be baite to Vendor nm eacess of the actual Purchase Oder cosl, lesa appheable discounts and other
Gaducions. Furtvennore, Purchaser wll nod ter bible to Vendor for any purive, special, incklenial of Consequential damage of any Kind. Vendor may nel bring a claim,
Sispute, laweut, demand or other cause of acton based upon the tranaactions under tho Gontract (inciuding debit memorandums, chargebacks or any other financial
penaites assessed by Purchaser) more (han one year after the cause of action has accrued, unioss a diferent time period is set forth in the Contract

© Foros Majaure Purchaser may delay dolvery or acceptance of any of ai Goods, or cancel any Purchase Order in the event that such delay ar canoollation is due to
causes beyond Purchaser's reasonable conirol, in such event, Purchaser wil nol be liable to Vendor for any amour except to pay for the und coal of Goods accapled by
Purchaser

1. Product SatetyMecaiaMorket Withdrawals. Vendor shall comply wath the Product Investigations and Rocad and Food Recalls and Withdrawals sections of POL for any
fuccensor sechons Iheretoj. in the event (i). a claim is made (whother founded or unfounded) or Purchaser has reason to believe that (a) ihe Goods contain defects or
hazards thal would create a substantial risk of injury to any person or proparty, (bj the Goods or the purchase, display, design, manuaciuring. delivery, Wbeling, packaging,
Placement, advertiong, promotion, Inaisporlation, marketing, distribution, offer tov sale or sabe of Goods, or lhe wie o¢ distribution of the Vendor Contant, walntes or will
violate any Laws (including without limitation those reluled to safely, manufacturing, sale, labeling, or transportation) or infringes any alleged Proprietary Fighi, or (c) Goods
Vail any tes! pursuant to any legal, Purchaser or other protocol or standard, or (t) Vendor oF a government endity initiates removal of Goods from ihe stream of commerce,
wahoul imiling any of Purchasers other eemedies in ine Contract of elsewhere, Purchaser may remove Goods from sale or disinbution, reject Goods or revoke any price
acceplance of Goods and destroy Goods or nturn Goods lo Vendor, m Purchaser's sole discrotion, and Vendor shall be rasporsite for all costs assocaled therewith
including those costs set forth in the Product Investigations and Recall and Food Recalis and Wihdrawals sections of POL (or any successor sectans thereto)

{ Disposition of Rejected Goods Wath respect to Goods that Purchaser has rejected [or revoked acceptance off, Purchasor will reaum Goods te Vendor excest Purchasey
may elect not to retunn Goods in the event: (I) Vendor and Purchaser have agreed that Goods wll not be mturned to Vendor, (ii) Vendor tails to authorize the retin of Goods
wihin 20 days after Purchaser's mole of reyection or revocation, (ia) the retum of Goods ts precluded by act of any government agoncy, reguintery authority or third party, (iv)
a claim is made (wheiher founded or unfounded) or Purchaser has reason to believe that (a) the Goods contain defects or hazards that could create a substantial risk of injury
lo any parson oF properly or (b} the Goods or the purchase, Geplay, design, mandactuing. delivery. labeling, packaging. placement, advertising, promelion, transportation,
marketing, distribubson, offer for sale or sabe of Goods, or Ihe use or distribution of tha Vendor Content, viotates or will violate any Lines (inckiding, withou kmitalion, those
related to safety, manuiactunng, sale, labeling oF kanspertaban) or initinges any alleged Proprietary Fight; (v) Goods tail any teat pursunnd bo any legal, Purchaser or other
Protocol or slandard, (wi) Purchaser isthe importer of record of Goods or (va) Purchaser hs reasonable couse to bebowe that Vendor intends to dispose of Goods in
contravention of the Intellectual Property and Brand Protection section of POL (or any successor secon therelo). Goods net retuned by Purchaser may be disposed of by
Purchaser in is sole diecrabon. With respect to any Goode diaposed of or rotumed by Purchaser, Vendor will be Hable for al costs and expenses related to the disposition or
felunn, inciuding any standard processing fees charged by Purchaser, any Ireighl, storage, and desposal or destruction costs

5 Disposal of Goods by Vendor. Vendor wit only dispose of Goods in accordance wilh the Contract including the intelectual Properly and Evand Protection section of POL for
any Successor section therelo), Further, Vendor shall ensure that its suppiers and datibulors wall only depose of Goods in accordance with the Contract incheding tho
intellectual Property ard Grand Protection sechon of POL (or any successor smcton thannto),

& Paymont,

a Payment. Purchaser pays trom invoice only and a set forth in the Contract, inctuding the secbons of PCL ragarding payment Purchaser will only accept invites trom
Vendor, Prices set forth ina Purchase Qrder are complete and click, unless otherwise apeciically provided nm the Contract, shipping, packagmng, labeling, custam duties,
james, Homage, inaurance, boxing and crating. No addfional changes of any type may be added wihoul Purchaser's express wrillen content No interes! o other changes
‘shall be owed by Purchaser with raapect to any Purchase Ondor o invoice, whelbor claimed by roascn of ine payment or otherwise, Payment of any inroice by Purchaser
Goes nol affect Purchaser's nghi to oxercee any remidy for breach of the Contract

ib. Deduntions. Purchaser may deduct {rom any payments to Vendor any amounts owed by Veedor to Purchaser under the Contract meluding, withoul hmilalion, any damages
for breach te which Purchaser @ enktied, any charges or panallies for non-complance with Purchaser's requirements, and amy amounts otharwise owed to Purchaser
under the Contract.

& Holds. Purchaser may athhold payments to Vendor (a “Hobd”) to satiety Vendor's actual of anlicipated obbgations to Purchaser

a Balances Owed by Vendor. In the event that Vendor owes Purchaser any amounts. Vendor agrees to pay mmediainly such amounts to Purchaser in immediately available
funds

10 Representations, Warranties and Guarantees
a Comphance. Vendor reprasonis, warranls and quaraniess thal Goods, und the design, manulactwing, delivery, labeling, packaging (incliding a warranties and

GeckImeng). placement, advertising. promobon, sale ond offer for sale, safely, purchase, display and transportation of Goods, and use of Vendor Content, and al
TOpresonlatons, wikTantios, queranices and achertising made by Vendor, or authored by Vendor to be mada, in connection with Goous, shall be in accordance with,
comply with, and where required, be registred under, afl appacable 1.5 and formign laws (incheding common taws and civil laws), bylaws, treaties, decrows, rules,
noguigiions, standards, cotes, offers, directives, gudehnes, judicial and adminisiralive decasons, agency and regulatory quirements, 1nd ordinances, whathor naw in
foree of hereinafter enacted of the country of origin, the courdry(ms) of sabe and daivery to the end consumer, Iho country(ids} of offer for sale to the end consumer. the
countrys) of purchase by and delivery lo Purchaser, the country of Irani and any slale, prownce or olher subdiveion of any of the foregoing, and amy agency or entity
Of tho Foregoing (Laws"), inching, withoul bmitahorn the Tan Act of 1920; the Fair Packaging and Labeling Act, the Lanham Act the Federsl Food, Ovug, and Cosmabe
Act, the Federal Trade Commission Act, the Magnuson-Moss Warranty Act — Feder! Trade Commission improvamant Act: the Radiation Cenirt for Hemith and Sataty Act
OF 1888; the Federal Ervronmental Pesticide Contral Act of 1972: the Redrigerater Safety Act, the Chikdren's Gasoline Burn Prevention Act the Virginia Graeme Baker Pool

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and Spa Safety Act. tho Consumer Product Satnly Act, the Consumer Product Salely Improvement Act of 2008; the Flammable Fabrics Aci, tne Federal Hazardous
Substances Act, ihe Hazardous Materials Transportation Act of 1975, the Faw Labor Slandards Act of 1938; the Wool Products Labeling Act of 1939, Ihe Agricultural
Marketing Act of 1846, the Indian Arts and Crafts Act of 1990; the indian Enforcement Act of 2000; the Federal insecticide, Fungicide, and Rodeniicide Act the Textikp
Tibet Producla Identification Acl, the Fir Producte Labeling Act, the Poison Prevention Packaging Act of 1870; iho Child Prolection & Toy Salety Act of 1960. tle Calideersia
Safe Drinking Water and Toxic Enforcement Act of 1986 (Proposition 65) the Toxic Sustances Control Act: the Endangered Species Act of 1973, the United States
Leuchable Lead.and Cadmium Standards. ail appiesble United States Foot and Ong Adminstration Standards; ine Faderal Alcohol Adminastraton Act: the Inteenal
Revenue Code, and such Laws ralaling to environmental and transportation matters or those requinng any form of notice or warring in connection wilh the sale, shipment
Storage or marketing of Goods. Vendor further represents, warrants and guarantees that all processes used or engaged in wih respect to processing. manwlechsing,
packaging, labeling. atoning and shepping Goods comply with all Laws. Vendor acknowledges and agrees thal it shall be a brmach of its nipresentation, warranty and
fuaraniee df any Goods are in wolation of any Laws at any time, inchuding after the sale of such Goods by Vendor to Purchaser, In lhe evert Goods fail to comply wilh ary
represeniation, warranty oF Quaranien set forih in Ihis subsector 10{a) at any time, Vonder agrees that it wil emmedkalaty notify Purchaser and lake all measures to ciently
the Goods that are of may be affected Vendor acknowledges thal fa obligations under this paragiaph are.an appropnale abocalion of sk betwoon Vandor and Purchaser

b Contineng Food and Drug Guaranion, Vendor reprrsents, warrants and quaranions that any food, deug or cosmotic product delivered hereunder, and all components
thereo!, including packaging, (i) ata not adulterated or misbranded within the meaning of the Federal Food, Grug and Coamebe Act (FDGA") and all acts amending or
supplementing the FOCA and similar slate or local lawa or ordinances, {u) are nal Goods thal may nol, under any of the provisions of the foregoing, he mtroduced into
interstate commerce under seclions 404 or 405 of the FIKCA, and (8) are nat and do nal conta a banned or misbranded hazardous substance.

c Guarantees Vendor rapfasenis, warrants and quaraniees that, for so lang as Purchaser may sell Goods purchased from Vendor, Vendor will muinlain m continuing
guaranty with ihe Federal Trade Commission of ihe Consumer Products Safely Commission, a applicable, in such form ai may be required from limo to time by
applicable rules and reguiations, pursuant io and with respect to the Flammable Fabcs Ac, Ihe Wool Products Labeang Act of 1999. the Taxhle Fiber Products
Identiheabon Ac and ihe Fur Procucts Labeling Act, as applicabte In the even any such quaraniee 1 not on file, Vendor epiesenis, warrants and quaranises that each
nwolce or othar paper, at defined in the appleable rules and regulations, regarding Gooda shall set forth a separate quaranty staung that [i] any Goods with tateic or
reloted material subject to the Flammable Fabrics Act have been tested with reasonable and representative tests mado a accardance wih standards issued or amencied
under Ine prowaions of section 4 of tha Flammable Fables Act (Section 4°) and confonm with applicable flammability standards issued or aireonded under the peowesions of
Section 4, and that further processing has not affected the flammability of such fabric of relaied maternal, (ij any Goods subject 1o the Wool Products Labeling Act of 1930
are nol msbranded under the provlaions there! ard rules and regulations thereunder, (i) any Goods subsect to the Taxtle Fiber Products idertiieation Aci are not
mmusbranded of laisely or deceplively advertised or invoiced under lhe provisions (hereo! and mules and regulations (hereunder, and (iv) any Goods subject to the Fur
Products Lahalng Act aro not mishranded or falsely or deceptively advertised oF invoiced under Ine provisions Inereol and rules and regulations thereat Vardar
foprasenis, warrants and guarantees thal mach invoice regarding Goods dotvered hereunder sats forth a separate guarantee and certiication that Goods ware produced in
COmpianoe wih all appicane requirements of gactions 6, 7, and 12 of the Fair Labor Standards Act of 1938, a5 amended and of reguistons or orders of the U.S
Department of Labor ued under section 14 thereat

d Merchantabaily, Finess, Conformance, Non-Infringemert Vendor represents, warrants and guarantees that Goods (i) are merchantable, (if) are of geod quality and
workmanahp, (ig) are free trom defects, lalen! or pateni, in material, design and workmanship. (iv) are fi, sufficient and sale for thir intended purpose and for the particular
Purpose lor which purchased, 1 Vendor knows of measonabty should know of such purpos, (tv) ete in conlonmaly in all respects with all specilicalions performance
shandards, drawings, Eamples or descriptions, furnianed, specied or adopled by Purchaser, (vi) pass a applicable Wests pursuani io any legal, Purchaser or other protacal
OF standard, (va) are free of any clam of any third party, (vii) do-nol iniringe upon or viclate any Proprislary Right of any thid party, and {ix} are ganuane and in ther orginal
manuieclured condiien containing all original manuals and information

© No Violation or Breach Vander reprasents, warrants and guarantees thal in obtaining, manufacturing, selling and delivering Goods neither Vendor nos anyone atfiliated
wah of representing Vendor has of will breach any agreement with of commiament or represeniation to any thitd party and mal Ihore fs no Impadiment of resiriction, lagal or
Othenwsit, furl Limils, prohibils or prevents Purchaser trom reasiing Goods 16 its customers.

( Potent Marking Vendor represenis, warrants and guaraniees that the use of any patent numbers, “patent pending.” “pater! applied for,” of any other form of pateri
marking On any produc! or packaging of product supplied to Purchaser is valid and appropriate for the product so marked and that such marking will continue to be valid
and appropiate for the duration of lime the product Is provided to Purchaser and likely to be stocked and sald by Purchaser

0 Boenelis and Atewonces Vendor represents, wiaktants and quaciniees (at prices, benefits or allowances for Goods ane not lees favorable than those prices, benefits or
aliewances curtenly extended to any other customers for [he same or similar goods in memilar Quantities. In addition, in the event Vendor reduces its anes for Goods or
similar goods dunng the tenn of the Contract, Vendor agrees to reduce tho prices of Goods on order, in transit or on hand comespandingly, and such paca reduction(s)
‘May. in Purchaser's sole and absotute discretion, by deducted from outstanding Vendor invoices or offeet against Verdors account, Purchaser shall nol be obligaled to
‘take A croc agaenal future purchases al the fe of the feduetion

fh Country of Origin Vendor represents, warranis and guarantees thal Goods are manufactured in the Country of ongin stated on Ihe commercial documents required for

cutoms aniry

Free Trade / Preferential Duty Treatment To the extent the Goods are being sold to Purchaser wiht asaurances thul they moet the requiremerds of, and qualily fee,

benelits under any tree trade agreement (such as NAFTA) or any other progracn of programs affording tha Goods prokerenbal duty ireatment, Vendor nmpresents. warranty

and quarantees that il wil cooperaie fully wilh inp applicable customs agency{ies) to subslartiate that the Goods actually moet the requirements of and qualify for such
benelits, which cooperation may entail, bul shail nol be limited to, allowing the requesting agency or agencies access to Vendor's manufacturing tnedities oF administrative
cfhices and providing whatever GocuMeniMion, information, records, assurances, o cerihcations that are necessary Io substantiate the Goods are qualifying By wary of
cxampla, # Go requested, Vendor mus proviie whatever evelonce is necessary bo suppor fhe asserhons made wilhin any NAFTA Cerificate of Ongin m connection with
ay Goods claming NAFTA bonedils, Furlhermnarg, Vendor represents, warrants and quinantens that it vill indemcily and defend the Purchaser Parties (os harenalier

Solined) against any Claims (also as herenatter dotined) arising by reason of {ij Vendor's taikwe bo cooperate with the applicable customs agency(ms) as required pursuant

to the foregeing, ander (ii) Vendor's (failure to substantiate that the Goods meat the requiremants of, and qualify for, the applicable ree trade agreement or other program

of programs affording preferential duty insadment,

| (Gontict Minerals As used in ie Agreement, the following tome have the following moaneigs: fh" Gontkel Minerals” means tin, tungsten of gold, roapectve of the source:
(i) "Covered Country’ means the Democratic Republic of the Cange oF an adjoining country (Angola, Burundi, Central Alrican Republic, the Republic of tha Congo,
Rwanda, South Sudan, Tanzania, Uganda and Zambia). (ii) “Contormant Smelter means a smettor or refiner determined to be conformant by ine Responsible Minarals
intatve's Responsible Minerals Assurance Process or anotiver internationally-recognized cert@icalion programm, and (iv) “Conflict Minarals Compliance Program’ means a
Conthe Minerals comphance propram thal i consistent wih OECO Due Diligence Guidanca for Reaponsitde Supply Chains of Minerals trom Conliict-Atfoctod and High.
Risk Areas and thal includes, wilhoul limilation, adopting o Conflict Minerals sourcing policy, pulting in piace other applicable management syslems, conducting supeliar
culvesch and dut diligence, and engaging in rk mitigation Vendor represents, wartants and guarantees that ihe Goods shall not contain any Conflict Minerals irom a
Covered Country uniess iby Conflict Minerals are sourced trom a Conformant Smeter In acidilion, Vendor shall implement a Conflict Minerals Compliance Progtam
Vendor shail timely eespond to any inquines from Purchaser regarding Confict Minerats, maintain records of is Confict Minerals-relaled supplier inquiries, due diligence,
2nd resuling Geciions fora period of a least five years, and fumish those and ofher relevant records Io Purchaser upon request

& The reproneniabons, warranties and guaranieus of Vendor hereunder are in adkdlion to all other express and implied warranies and shall run io tho bangdil of ane! ahall
create direct Aghts of onforcement and remedy in Purchaser The representations, warrantes and guarantees of Vendor herounder oo COnMnUirG In natung and shall nod
be affected cr limited in any way by Purchaser's extension of axpess or imphed warranties to its customers except 10 the tajent thal any such warranties expressly extend
beyond the scope of Iho Vendor's mpresoniations, warranties or juaranieas, express of imphed, lo Purchaser. Vendor's representations, warranties and quaranieas
remain in full foros and effect notwithstanding any design ot manulacturing ar other similar guidance provided by Purchaser at any bme None of tho remedies avaiable Io
Purchaser for the broach of any of the foregoing represeniations, warranties or quaranieos may bo limded except it the extend and inthe manner agreed upon ty
Purchaser ia separie agreement specifically designating such limiation and signed by an authorized represantalive of Purchaser, Verxior is net reliewed from amy
Obhgatans oF liamilty (inchuring wihoul limitation to any GuMomer of Purchaser) for gry redior or because of any action by Purchaser or ary thied pawty including, but nol
fmited to, any of the folowing; (1) Vendor has received @ satistaclory lab teel result, (i) Purchaser has conducted testing, (i) Purchaser has accepted or approved Goods,
Vendor Content, dasigna, clams, matenals or packaging, (iv) Purchaser has furnished, specified or adented product specifications, perlormance stardards, drawings,

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Protuct Clans, instructions, descriptions, design or manulactinng guidance andlor other Mormation nated 10 th Goons or Vendor Contend, ardor (iv) Purchaser hes
auihoized an overdo of basting protoce! or tesbing results.
11. Ofher Agreements.

a Resale Goods With respect to any Goods of whch Vendor os not the original manufacturer (heroinatter roferred to as “Resake Goods") Vendor represents, warrants ard
Quaranioes thal: (i) Resale Goods are of a bipe that would normally ba accompanaed by an pred wiillen manufachunor's warranty wald in ihe place of sale to lhe
consumer of Linkid Stales when ceatriouied through the manulacturer’s raguiar channels, the Resale Goods sold to Purchaser hereunder will contain such express wrillen
manufacturers warranty applicable when the Flesale Goods are sold by Purchaser, and {i} Vendor wil ratan and, upon Purchasey's nequasl. provide to Purchaser original,
compete, unaltered and unredacled umvosces (ron the manuiaciurar or entity authorized to possess the Resale Goods demonsirating Vendor's lawful possession of tha
Resale Goods.

b& Thed Party Representatives. Vendor may engage a thin party as a manufacturer's representative to interact with Purchaser on Vendor's behas (a “Third Party
Representative) Voncor apraes thal any Third Parly Representative engaged by 4 is acting on Vendor's bohaif and Purchaser may rely upoe any stakenonts or
fepresenialions made by ihe Third Party Representative. Vendor further agroos thal dis solely responsible lor all matiers relating to the Third Patty Rlepriseniative’s duties
and compensabon

© Ant-Bnbary,

i. Ant-firibery. Vendor's partormance of a Purchase Order is subject to the United States Foreign Gorrupt Practices Act (FGPA") aa well as other applicable anti-bribery
laws. Mother Vendor nor any acling on its bohall will violate the FCPA or any other anéi-bribery law for the benelil of.or on behalf of Purchases or Verdot. Vendor will
ret, diractly of indiwectly, pay, offer to pay, or authorize the payment ol any money or Innstor of anything else of value bo:

i An officer, employes, agent or representative of any government, including any deparimont, apency or instrumontaldy of any government or any govenment-cwned
oF gavernment-controlied mnily or any perkon acting in an official capacily on behal thereol, or any political party, any official of a pobtical party of pubke
nfennaboral orgencation, or any canddate for political office (each, a “Government of Political Official or Entily" or
Any olher parton or ently while knowing of having roason to belnwe that some or all of the payment or thing af value will be offered, gwen oF proenéased, deectly or
incarecty, to any Goverment or Pokbea! Otfecial or Entity, for the purpose of improperly influencing any act or decition of such Gowarnment or Political CHiclal or
Entdy in his, har or ts official capacity, Rolovant acts of decisions include a decision to-do or not do any ect iv violation of the lnwful duty of auch peruan or antity, ce
inducing Such pereon or enkily (a une his, her or its influence wilh the government of insirumertaldy thereo! 19 alfect or influence amy act or decision, in order to
obtain, retain of direc! any business or to secure any other improper business advaniage. Addaionally, Vendor wili not directly or indirectly make, peavide, offer of
aahorine any payment of anything else of value to any Goverment or Poliieal Othcial or Enlity for the purpose of oxpédkting of securing the perlormanca af a
foubne govemmental action by such Government of Poltical Offeial or Entity, Vendor musl mmeacisaly notify Purchaser ol any actual or suspected beeach af they
‘Section.

i. Queslionnare i Vendor completes an FCPA thid party due diligence quustionnara, fren Vendor's responses to any such FCPA thied party cue diligence
questionnaire are incorporated by reference to the Contract and conshtute Vendor nprasentations, warranties and guarantees under the Contract

ld Ceniieabans, Vendor shall provide to Purchaser such information and further written corificatons as Purchaser may request fram lime to time to assist Purchaser's
efforts to assure complance wih the FCRA and ather applicable ardi-bribery lnwa,

tv, Troan Upon request by Purchaser, Vendor shail insthula a FCPA compkance traning and reporting program that moots Purchatar's prescribed requirements,
Additionally, Purchaser may Gnaignate Vendor porsonnel who and positions that must receive such taining

dd) Financial information From time to Gra upon Purchaser's requesi, Vendor will provide Purchaser with reasonable information regarding Vendors financial status inchading,
wilhoul limilation, nancial abatements, credi reports and Cun & Gradeineet reports

12. Records and Audits For two years following the itsuance of a Purchase Order, Vendor shad keep full and accurate books of account and all documents and other materais
folaling io Ihe subject matter of that Purchase Order and Vondor's tulliliment of thal Purchase Crder Dunng thal same period Purchase, ce tn dhuly futhorized apond or
feprosaniative, shall have thw right, upon reasonably notice, lo audi ard inapert such books, documonis, and otter material during Vendor's normal business hours, and may
make copes of such books, documents and other materials in order to wordy whether Vendor has comphed with ils obligations under thm Contract Vendor wail prompilly pay

Purchaser for any overcharges made by Vendor that ane disclosed by such aude inv addon, ff any audit of Vendor's books and records reveals thal Vendor has erroneously

changed Purchaser $1,000.00 or mare, Inen Vendor shall reimburse Purchaber for Purchaser's direct out-of-pocket expenses incurred m corfucting the audi

13. No Variances. Regardiess of indusiry standards, no variances with respect io quality, quantity, Size, Capacty, volume, conlent or other standard measure of Goods ang
alowed,

14 Indemnification; information Request.

a. Indemniication. Vendor shall defend, indemnity and hold harmiass Purchaser, Purchaser's allliates, Purchaser's subsithares, and eech of thor nspective directors,
otficers, sharoholders, amployess, contractors and agents (colloctvely, ihe “Purchaser Parties") from and agasnet any kabiilies, loses, innestigations of inquiros, clans,
demands, solions, proceadings, Suis, Gamages, ponalins, Costs and expenses (including without imitation, reasonable atiomeys' tees and expenses) (each a “Claen"),
now existing of hereafter commenced, whech any buyer or user of Goods, or any other enlily or person (inchading amployaes, agonts or Third Panty Represeniatives of
Vendor), whether in prenty with Purchaser o not (any of fhe foregoing,  "Clzimant’), may make against any of the Purchaser Parties, based upon, arising oul of or
others relating to tho subpect maiter of tho Contrast (inckating withowl imitebon the purchase, diplay, design, manulacture, dalvery, ticketing, iabbling, packaging,
Placement, advertising, markeling. promolion, salt or offer for sale, distribution, safely, marketing, transportation or use of Goods or Vendor Contant), Vendor's
Performance of failure fo Deron as required by the Contract, Vendor's acts or omissions, any of Vendor's representations, warrantis of guaraniees contained inthe
Contract, of any patent, design, irae name, radamark, service mark, copyrigh!, rade dress, mgt! of privacy, right of pubbety ev other similar proprattary or property righl
With respect to any oF ail Goods or Vendor Content. Vendo shall also defend, indemnilly and hoki harmless the Purchaser Parties, [rom and agaial any Cinam, ros
existing of hengatier commenced, wtich any Claimant may make agains! any of the Purchaser Parties based upon, aneing oul of of ottarveiee eelaling bo Vewdor's actual o
aheged failure to offer “compikant coverage” (coverage under an “nigible employer-sponzoned plan” under inumnal Revenut Code Section SOOQANK(2)) to Vendor's
employees or Vander's conlingant workers providing services to Purchaser, (ii) a violation of ary transshipment regulation, ar (lv) the Vendor Equipment or Verdor
Services (including withoul lnaaton any Claim Inat the parsons pertorming the Vendor Services (the "Vendor Personal") are employees or join! employees of Purchaser
or any Clam for injuries suffered by Vendor Personnel) Any altonnoy colected by Vendor io defend Purchaser Parties msl be reasonably sabsfactory to Purchaser, Until
@ court of competent jursdicton finds the Purchaser Paries negligent, a caim of negligence against any of the Purchaser Parties will no! lina! Vendors duins undor this
Section, and Vendor must defend, indermndy, and hold harmless Ine Purchaser Pasties again clarns of neghgence agains! the Purchaser Parties. Upon such a indng,
Purchaser wil reimburse Vendor, in properlon to the Purchaser Parties’ inull, for reasonable cosis incumed by Vendor in defending such claim of negiigance agewal the
Purchaser Parties.

& inforrumion Request Vendor shail also De kable to the Purchaser Parkes for any and all costs and expenses (including, without limitation, reasonable atiomneys’ fers ond
SXDONSeS) areing out of oF related Io any Purchaser Party's response to any subpoena, dlanovery request or olher raqumat Ine nformalion subsnitied io or served upon a
Purchaser Party in connecton with any Inwsuil, claim or other proceading to which Vendor isa panty of any governmental investigation baing conducted with reagact to
Vendor or the Goods

hig the intent of the partes hereto thal all Vendor indemnity obligations and responsiblity for olter costs and expanses be without hmil and without regaitl as io whather or
fot Purchaser fureshes specications, inapocts of approves Goats. The purchase of maurance and fumishing of any cerlificales shall not in any way modty Vendor's
agreement to indemnity Purchaser Parties or be keble to Purchaser Parties for other cols and expenses.

16. Insurance, endo shad maintain in full foro and effect minimum insurance of the hofowing kinds and amounts and meeting such other reguirements as set forth below

a Workers” Compensation and Employer's Liabaity Insurance: Worhers’ compensation insurance, affording statuiory coverage and coclaining slatuiory limits tor the state(s)
inwhich Vendor is conducting business miaied to the Contract, and employer's linodiy insurance in the amound of $1,000,000 aach accdent for bodily injury, $4,000,000
gach employee for bodily ingury by devease, and $1,000,000 policy lena for bockly inuury by deeane:

& Comnmtioal General | inhity insurance Commercial genoral Baby (“OGL”) insurance, inching product liability covernge, with minenum linds of coverage of riot hess
than $5,000,000 per cecurence for bodily injury and property damage, which shall nckide the inkewing addtional coverages: products and completed operations,
conirackal labiity tor hatlities assumed by Vendor under the Contact, and personal and advertising injury Kateity. Yendor's GGL insurance shall (i) designate “Target
Comporaton and iis subsicuries” as additenal insureds, including with respect to third parly claims ov actions broughl directly agains! Purchaser or against Purchaser and

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Werslor as co-tietandants and ariang oul of the Contract, (i) prwide for a severabiity of interests, and (ii) howe an additional insured endorsement of CG2015, CG2028, ce

equivalent. Coverage shall also include a warver of subrogation.

i, Vendor shail idence io Purchaser Ihe required imautance for a Conbrugus period of not lees than three years trom the receipl of Goods,

a Vendor mart prowde insurance for the Ife of Goods cowenng claims ocouting or brought by third parties, including after Purchaser discontinucs sate of Goods

Automobile Liaibehty Insurance, Automobde Liahiily Insurance inching coverage tor cwned, hired ond non-owned wehicias)} wilh minimurn limits of not loss than $1,000,000

ber ccourrénse combined single imi tor personal injury, including body injury, dealh and propeny damage,

Network Seounly. Vendor, a3 applcedle, shal comply with the requinaments for mobwork security coverage sel forth in tue Insurance section of POL for any suocessor

Section thertte)

‘General Insurance Roqguramerita

1 Insurer Stabilty and Sine. All coverage required under this secbon shall ba procured fram a company or companies possessing an AM. Boal rating of A- Vil or botier
a Insurer Qualficalan, All cowerage required under this section shail be obtained from a company of companios that are authonced to do business undur the laws of the

aba(e) in which Vendor in conducting business related lo ihe Contact

i Occurence Basis. All coverage required under Ihe schon shall ba written onan occurence bass

we Vendor ingurance & Primary, Vendor's insurance shall ba primary and non-coniibulery, and requined bo respond lo-and pay prior to any other available coverage of
Purchaser

. Cevtihcate of insurance Vendor shall provide Purchaser with o certificates) of iaurance dndencing ihe mquired coverage belore shipping Goods and upon each

renewal of such poles. The Cerbtcates of Insurance shall include a clause thal obligates the insurar(s) to geve Purchaser aa joast 40 divs poor wrtlen notice of ary

matecial change of cancelation of such potcies

Sell-Insurance. Vendor shall nol sedlanaure ils Coverage roqured under ihis sechon wilhout the prot written consent of Purchaser

. Teeter Al such policies shad inchate o workiwede coverage beritory ond cover claims broughl worldwide

Mecelaneous. Vendor shall obtain such insurance print ta shipping any Goods The insurance obigations of Vendor herein shall surview tha completion of terminatien

of any Purchase Onder under the Contract. The purchase of insurance and furushing of any certificates shall not limi Vendor's cbligalions henunder Vendor furihar

aqries fo insure, al it Bode Cost and expense, for their full and true retad value, any Goods which by the term of the Contract, or any other agreement batween

Purchaser and Vendor, are to be stored al othor than Purchaser's facilities

Vendor Services, Vendor Equpment and Vendor Personnel The weurance required lo be obiained and maintained by Vender pursuant te the Cariract shall provide

Coverage with respect Io Vendor Services and Vendor Equipmen, and coverage for claims aleging that he Vendor Perponnel ane employees or joint employees of

Purchaser and clains for nqunes sulfered by Vendor Personnel

=

za s

16 Vendor Equipment, Vendor Services. In the event (a) Vertor partons services related to of nn connection with Purchaser or Goods , whether performed on Purchaser's
PhTIEeS OF eleewhere. incliding, but nol limited lo delivery, shocking, remdval, installation, maintenance, promotion, consulling, calegory managenent of other sarniced
(collectively, “Vendor Services") of (b} Vendor provides any equipment, fodures or other tangible propeety in connection with the Vender Services or the Goods (Vendor
Equipment), the following additional terms: and provisions ahall apply

16

B

af

Vendor agrogs that all represenialions, warranties and guaranees sat forth in the Contract shall apply io Vendor Services and Vendor Equipment;

in ackiion to the representahons, wartinhes and quaranioes roferenced in (a) above, Vendor represents, warrants and quarinteas that Voodor Services shall be provided
ino Good and workmaniiee manner,

Venger anal, al ii expense, obtan all inenies and permits and shall pay all inspection fees nicessary a connection with the performance of any Vander Serviens:
Purchaser has no obligation to maintain any Vendor Equipment or te provide notice to Vendor of any failure of or damage to any Vendor Equipment: and

AR Vendor Services perforned shall be performed by Vendor as an independent contractor, and the Vendor Personnel shall not be consdered emnplayeas or joint
employres of Purchisor, Vendor is solely neaponsible for paying all wages, salaries, compensation, benolits and taxes payable with respect to the Vendor Presonnel and
for comphring with all apphcable laws relating to the Vendor Penornnal Vendor shall be solely nesporatle for hanng, traing, dheciplining, terminating, SLpSTVIEINg,
Greciing, scheduling and retaning the Vendor Paronnol provided, however, Purchaser may requesi that Vendor assign, ranaler or canes to ullied any member of the
Vendor Personnel whe, Purchaser's reasonable padgemenl, is obectonatie. Vendor shall have in place a process for ineninwing, screaning. and performing
background checks on prospective Vendor Personnel that is consistent with industry standards and complont with applicable laws as well at any applicable Purchaser
securily procedures. Vorgor shall follow such process for even: mamber of the Vendor Personnel prior io performance of iho Verdior Services Vondor and its Wonder
Personnel shall comply with Purchaser's polos and rules regarding safely and security, legal compliance and information security. In addition to Vendor's indemnidication
obhpations to Purchaser in this Agreement, Vendor i liable to Purchaser for losses due to Vorndor Personnat's actions, intduding withoul Fnitalion Vardar Personnel
caused {hetl, damage or destuchan

Confidentiality, Use of Names and Marka
4. Gonhdentadty, Vendor is subject to and will comply with the confidentiality provisions sel forth in the Rulos of Uae and Conficentiatly Agoament section of POL tor any

b

cede section (hereto) Untess olhorwian apredd in whiting, no information disclosed or suppled by Vendor Io Furthaber shall be degmed secrel or conludential and
Veedor shail have no rights agent Purchaser wth respect thereto.

Use of Purchaser's Name. Vendor shall nol use Purchasa’'s name, bademarks, senice marks, logos, any description that would reveal Purchaser's idenbly, or other form
of fenbircation of Purchaser, whother hegisieted of not (ihe "Purchaser identification’) in any way, including, bul not limilad lo, any advertisements, press nelonses,
Snhouncemints, quitomer lists (including customer kais on any website) or materials 4 a public or promotional nature of in soliciling other clients nor make any diract or
intrest public neherence to the Contract or any other agmoment between Vendor ana Purchaser withoul et obtaining Purchaser's written consent, which may be withheld
in Purchaters tole dipcralon in acdiion, Vendor agrees lhad it shall nol negatively noferonce of disparage Purchaser

. Use of Purchasers Marks. Vendor may only uae irigdemarks, sennce marks, fogos, marks, images, copynights, rade names, trade drags, characlers, designs, names,

Symbols or char matersals cwned, copyrighted or koensed by Purchaser or Purchaser's licentors in accordance with thee Caniract including the [ntellechual Property and
Brand Protecion section of POL (or any successor section thensto)

Use of Vendor Goods; Content and Marks. Vendor hereby grants to Purchaser the royally-free, sublcensable, workdwide right lo use tho Goods (including, for clarity, all
racers, Serice marks, bode names, fade dirass copynighbs, logos and images) and Vendor Content (henenadier defined) in or rataled to Purchaser's netail
‘operabons. “Vendor Conlon” means bed, graphics, namas, marks, mages, audio or digital lies, audio-nguel conient and af other data, information, marketing ard
omolonal matdnals ind content in any medium, and ail copynghls, logos, badenaks, senwoe marks, rade names, and other intelleclual property rights (heroin or related
{o Ine Goods, Vendor Services or Vendo! Equipment. Vendor acknowledges and agrees ihal under no circumstances is Purchaser required te use the 8," °° “EF or
other symbots or othenwine dently Vendor as ihe owruar of any trademark or other rights,

Assignment and Subcontracting.

No Assignment Vendor shall nol assign the Contract, in whole or in part (by assigning any nght or delegaling any duty under the Contract), voluntarily or involuntarily, by
operalion of law, or in any other manner, walhout Purchaser's prior wiilten consent, which may be withhekd in Purchasers sole drecretinn. Any purported assignment or
delegation by Vendor withoul Purchases phor written consent is word A irandior of 30%. or more of Ihe shares or other ownership interests of Vendor will be considered an
Stlempied assignment of the Contract by Vendor

Asmgoment of Payments. Motesthelancding the foregoing, Purchaser ll allow Vendor io assign to of mono than one person or entity, the ght in moene 100% of tho
Payments owed to Vendor under the Contract. if any such attignment is lo any person or entity other than Purchaser's paying bank, nolice of any such assignment, must
be provided te Purchaser in accordance wilh Purchaser's requiroments, If any such assignment lo Purchaser's paymg bank, Vendor should nel provide notice te
Purchaser of the avsignment, Purchaser reserves the night to requira reasonable proo! that the assagnment has been made Bauch proof ip not limety funnashed or if Vendor
otherwise (nds to comply with this section, Purchaser may reject the astagoment and continue to pay Verdier, Any such assignee shall take assignment of payment cubjgct
foany and all caine and gine of ofteal Purchager has agains! Vender Any such asugnmend shat not () affect any paynerds made prio to the effective data of such
asegnmen, (i) affect any of Purchaser's rights under the Contract, including its righ! to take deductions free Vendor's account, or (in) rehewe Vendor of any of is
Obigations under the Conrad Any agrarian vodaton of tia provision shal be vow

Aaeigrment by Purchaser Purchaser may assign the Contract, im whole of in part (by assigneng any night or delegating any duty under the Contract) to an afiiated antsy
of to any other party in Purchaser's sole discration. In the vend Purchaser assigns the entire Contract to ancadher party, Purchaser shall have no further obbgabon be
Vendor under the Contract and Vendor hereby consents that Purchaser's assignment shall constitute a novation |

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¢. Subcontracting Purchaser's payment to Vendor constitules payment for any Goods. services, equipment or ofher deliverable provided by any subsoniractor of Vendor or
Vendor's agent(s) of ropemsentatwe(s), Vendor remains fully tesponmble and hatte to Purchaser for the acts of its subcontractors and perfonmance of afl Vendor's dutins
and obkgahons under the Contract

Notice. Except aa otherwite provided in ine Contract, each party giving any notice required undor the Contract ahail bo in wriling and ahail usa one of the folowing methods of

dolvery. (a) United States-recognized ovemighl courier, with such notice effective al fe time dalivery be shawn in the couner's records: (b) postage prepadd by Uneted States

regestered of cerliied mad, rotumn receipt requested, wilt such malice effective upon recip! or upon the date that delivery is allempted and retuned: or (c} dedwered personally,

welh such notice affectva upon dolnvery. Either party may designate another nolice address in a notice given pursuant to thes secon. The proper mohioe address for Vendor ti

Vendor's address reflected in Purchaser's records. Notices seni to Purchaser shall be sent to the following adkresgms:

Tange! Corporation

1000 Nicollet Mali

Minneapolis, MN 55403

Alin Vice President, Merchandising

Dept (Enter Deparment number(s) for the area(s) to which Ihe notice ralaies]

WR in oopy bo:

Targel Corponaian

1000 Micobet Mail

Minneapolis, MN 54403:

Alin, Chee! Legal Oficer

Entire Agreement, Changes to Contract.

a. Enbre Agreement, Tho Contract constitutes the entre expression of the parting’ agneemant with mgard to the subject mailer of the Contract AM price and
Contemporancous negotiations ard agreements between ihe parties with regand to the subject mattor of the Contract are expressly superseded by the Contract

b. Medication of tha Contract The Contract may not be modified by course of dealing, course of performance, or any oral communication between Purchaser and Vendor
The Contract may only be mocified by (i) a saparata written agreement signed by Vendor and an aulhorized agent or officer of Purchaser, o* (i) Purchaser providing
Vendor, with reapect bo fubure Purchase Orders. wilh advance writhen or elactranit notor (including peoviding notice as set forth in the Rules of ise and Conbderdiality
Agreernet sechon of POL for any successor secon ihereto})

6. Moduicaltion of Purchase Orders, Purchaser reserves the nghi al ary line to make changes to any Purchase Order, including, without imitation, changes to the mathad of
Shipment, packaging, hanging, tickebng, labeling or packing, the time, Plaoo and manner ol delivery, the specdicalons, of the quarity of Goods. Itany such change shall
cause an ncrena OF decrease ln the cost or lima requiod tor periormance of the Purchase Onder, Vendor shai immediately advise Purchaser of any auch increase ot
doerease, and an equitable adjustment shall be made to the Purchase Order, inching without limélation an adjustment io the Purchase Order price andiot deitvery
schedule. Any cham by Vendor for such adiustnent must be approved by Purchaser in writing prior to such adjusinant being made

. Invatidity, Non-Waiver, Course of Dealing Wany proviion of the Contract is hedd invaied, illegal of unerionceable, the vakdly, legally and enforceability of the remaining

Prowsions will not be affected or impaired. No provision of the Goniract shall ba waived except pursuanl ti a writing execuled by tho party agains! whom the waiver in sought
No watvorwnll be applicable other than for (he apeciic Instance in which it is piven Purchaser's failure to tuly of tirealy axercien any right or remedy or Purchaser's failure to
foquire the salistaction of any condition under the Conlract shall not operate as a waiver or estoppel of any right, remedy or condition. Purchaser's right to require siricl
observance of the tems of ine Contract shall nol be waned by course of dealing

Governing Law, Venue. Theo lanes of the Stato of Minnesota, without regard to Minnesata's choice of law principles, gown all matters ansng cul of or related lo tho Contract
Tho parties agree thal the oxctusive forum and verue for any leweuil arising oul of of relabed 1a the Contract shall te the Linked States District Court for the District of
Minnesota, and the partes submet te the personal jurisdiction of thal cour If nnither subjaci matter nor davorsity jurisdiction exists wn the Linited States District Court fer the
Denne of Minnesota, then the eaciusive foram and venue for any such achon shall be the courts of the Stale of Minnesota located m Hennegin County, and the parties submit
to the personal junadichion of that cout Furthermore, the partes agree that he 192) Linied Nationa Conwention on Contracts for the Intemational Sale of Goods, and any
SubStquUeN! reviMions Ehencto, do not apply to the Contract

Arbitration. Any coninowarsies of diipules arising out of, or retating to the Contract or ina sterpretalion or breach hereo!, shall in Purchaser's solo and abeohle discration, be
sellied by binding arbaration by an arbaration tannce of Purchaser's choice, i accordance wath the laws of the State of Minnwscts governng voluntary arbirations The
location of such arbaration shall be in Minneapolis, Mintesota, Descovery chall be parmitted as provided by applicable shate law of a6 ihe partes may olhewee mutually agree
The parties may also mutually elect to seek medinton a8 an altemative or precursor to arbatation W te Contract governs an intemational transaction, the applicable state law
fogarding the arbdraion of international desputes shall apply The arbiirator shall agree to conduct proceedings under the laws relating to arbitration cliled above, or such olher
tubes bo which fhe parties mutually agen

No Third Party Bonoficharias. Certain sections of this Contract are for Ihe benefit of tho Purchaser Parties, Ag a resull, any of ihe Purchaser Parties may endorce this
Agreement. Except for the Purchaser Parties, this Agroement dons nol create any enforceable nights by anyone other than Purchaser and Vendor

Modified, 2078

https://www.partnersonline.com/sc/public/legal/pages/conditions-of-contract.aspx 8/17/2018
EXHIBIT B
JAMS ARBITRATION
Case No. 1390000711

In the Matter of an Arbitration Between:

International Seaway Trading Corporation,
Claimant,
v.

Target Corporation,

Respondent.

 

Target Corporation; Target Global Sourcing
Limited, and Target General Merchandise,
Inc.

Counterclaimants,
V,

International Seaway Trading Corporation,

Counter-Respondent.

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Minneapolis. Minnesota

ARBITRATION SUMMONS TO APPEAR FOR DEPOSITION AND
BRING DOCUMENTARY EVIDENCE

To:

Larry Satz, 215 S Mason Rd., Saint Louis, MO 63141-8026

By the authority conferred on the undersigned Arbitrator by Section 7 of the Federal
Arbitration Act (9 U.S.C, § 7), you are hereby SUMMONED to be to attend as a witness at a
deposition to be held on October 27, 2020 at 10:30 CDT by virtual means (instructions will be
provided by the court reporter), and to bring with you the documents identified in Schedule A
annexed to this SUMMONS, The deposition will continue from day to day until completed, or
may be continued until completed at a future date.

If you shall refuse or neglect to obey this SUMMONS, the United States District Court
for the District of Minnesota, upon petition, may compel your attendance, or punish you for
contempt in the same manner provided by law in the courts of the United States.

You may address questions concerning this SUMMONS to the attorneys identified below
who requested this SUMMONS. Any application by you to quash or modify this SUMMONS in
whole or in part should be addressed to the Arbitral Tribunal in writing. with copies to counsel
for the parties, except that a motion upon the ground that the SUMMONS is unenforceable under
Section 7 of the U.S. Arbitration Act may also be addressed to the United States District Court
for the District of Minnesota.

The attorneys who requested this subpoena are:

Kerry L. Bundy
Kerry, Bundy(@)faegredrinker.com
Lauren W. Linderman
Lauren. Linderman(@faegredrinker.com
2200 Wells Fargo Center
90 South Seventh Street
Minneapolis, MN 55402-3901
Phone: (612) 766-7000
Fax: (612) 766-1600

The following provisions of Fed. R. Civ. P. Rule 45 are attached — Rule 45(c), relating to
the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena; and Rules 45(e) and (g), relating to your duty to respond to this subpoena and the
potential consequences of not doing so.

Dated: October 15, 2020

s/James M. Rosenbaum

 

Hon. James M. Rosenbaum (Ret.)
333 So. Seventh St, Suite 2550,
Minneapolis, MN 55402
612-332-8225
jrosenbaum/(@jamsadr.com
SCHEDULE A
Pursuant to JAMS Rule 21, Section 7 of the Federal Arbitration Act, 9 U.S.C. § 1, ef seg.
and Rule 45 of the Federal Rules of Civil Procedure, Respondent/Counterclaimant Target
Corporation and Counterclaimants Target Global Sourcing Limited and Target General
Merchandise, Inc. (collectively, Target”) hereby request and demand that Larry Satz bring the

follow documents for inspection and copying to the deposition noticed above.

DEFINITIONS

l. “You” or “Your” shall mean Larry Satz, including agents, representatives,
employees, consultants, attorneys, or entities acting in conjunction, joint venture, or partnership
with it, or any entities acting under his direction or control.

2. “ISTC,” or “Claimant,” shall mean Claimant International Seaway Trading
Corporation, including without limitation its predecessors in interest, agents, representatives,
employees, consultants, attorneys, or entities acting in conjunction, joint venture, or partnership
with it, or any entities acting under its direction or control.

3. “Target” or “Respondents” shall mean any of the following entities: Target
Corporation; Target Global Sourcing Limited, or Target General Merchandise, Inc., including
without limitation their predecessors in interest, agents, representatives, employees, consultants,
attorneys, or entities acting in conjunction, joint venture, or partnership with them, or any entities
acting under their direction or control.

4. “Hunter” shall mean Hunter Boots, Ltd. or Hunter Boots USA LLC, including
without limitation their predecessors in interest, agents, representatives, employees, consultants,
attorneys, or entities acting in conjunction, joint venture, or partnership with them, or any entities

acting under their direction or control.
5. “Target OB Goods” shall mean the Target Owned Brand goods that ISTC
contracted to supply to Target in 2017 and 2018.

6. “Hunter Boots” shall mean the Target limited-time offering of, among other
things, the iconic Hunter rainboots for which ISTC contracted to supply to Target.

Fe “Document” shall mean any medium upon which information is or can be
recorded and shall include originals, reproductions, and drafts, and specifically includes, but is
not limited to, materials in electronic format, memoranda, notes, inter-office and intra-office
communications, telegrams, letters, e-mail, data, reports, accounts, records, calendars, diaries.
minutes, contracts or other legal documents, insurance policies, telephonic or personal
communications, tape recordings, microfilm, film, stenographic notes, bulletins, notices, and
computer data. Without limiting the foregoing, the term “Document” or “Documents” shall
indicate any copy which differs in any respect from the original or other versions of the
Document, such as copies containing notations, insertions, corrections, marginal notes or any

other variations.

8. “Communication” shall mean any oral, written, or electronic transmittal of
information or request for information made from one Person to another Person, whether made
in person, electronically, by telephone, or by any other means and includes any document(s)
made only for the purpose of recording a communication, a fact, an idea, a statement, an inquiry,
an opinion, a belief, or otherwise.

9, The connectives “and” and “or” shall be construed either disjunctively or
conjunctively as necessary to bring within the scope of the Requests all responses that might

otherwise be construed to be outside of its scope.
10, The terms “Relate,” “Relating,” “Related,” or “Relates” shall mean referring to,
alluding to, responding to, concerning, connected with, commenting on, respect of, about,

regarding, discussing, describing, memorializing, reflecting, evidencing, or pertaining to.

11. As used herein, the singular form of a noun or a pronoun shall be considered to
include within its meaning the plural form of the noun or pronoun so used, and vice versa: the
use of the masculine form of a pronoun shall be considered to include also within its meaning the
feminine form of the pronoun so used, and vice versa: the use of any tense of any verb shall be
considered to include within its meaning all other tenses of the verb so used.

INSTRUCTIONS
l. If no time period is identified within the Request, the Request shall pertain to the
time period of January 1, 2017, to the present.
DOCUMENTS REQUESTED

REQUEST NO.1:; All Communications with ISTC’s agents (Faikylite, Infinity Blue
(Cougar), Jisheng) and/or factories Relating to Target, Hunter Boots, and/or Target OB Goods.

REQUEST NO. 2: — All Documents Relating to Your work with Target.

REQUEST NO. 3: All Documents Relating to ISTC’s production of Hunter Boots and
Target OB Goods.

REQUEST NO. 4: — All Communications with ISTC after You were no longer
employed by ISTC regarding Hunter Boots, Target OB Goods, any dispute with Target, and/or
this Arbitration.

REQUEST NO.5: All Communications with Hunter Relating to Hunter Boots.
EXHIBIT D
Dear Judge Rosenbaum:
Re: ISTC v Target JAMS Reference #13900007 11

| am ISTC's client representative for purposes of winding up the affairs of the
company and responding to your Scheduling Order No.3. Please be advised
that ISTC has no funds or assets and does not intend to pursue its Arbitration
claims or defend against Target's claims. | understand, from a letter of
November 16, 2020 from Target's attorneys to you(attached) that Target Is
amenable provided that it is declared the prevailing party, a condition which is
acceptable.

Respectfully, °

Chief Executive Officer
|nternational Seaway Trading Corporation
E mail: lijane1234@yahoo.com.tw
EXHIBIT E
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drinker tage
Kerry L. Bundy Faegre Drinker Biddle & Reath ip
Partner 2200 Wells Fargo Center
kerry bundy @ilaegredrinker.com 80 South Seventh Street
41612 766 €217 direct Minneapolis, Minnesota 55402

#1612 766 7000 main
+1612 766 1600 fax

November 16, 2020

VIA E-MAIL

The Honorable James M. Rosenbaum (Ret.)
333 S. Seventh St., Suite 2550,
Minneapolis, MN 55402
jrosenbaum@jamsadr.com

Re: International Seaway Trading Corporation v Target Corporation, JAMS
Reference #: 1390000711—Target’s Response to ISTC’s 11-15 Letter

Dear Judge Rosenbaum:

We are writing in response to International Seaway Trading Corporation's
(‘ISTC”) November 15, 2020 Letter. ISTC stated that its counsel has been terminated,
that ISTC is insolvent, and that ISTC is “unable to conduct any further business.”

It appears that ISTC is abandoning its claims in this arbitration. If that is the case,
under JAMS Rule 13(b), “the opposing Parties may, within seven (7) calendar days of
service of such notice, request that the Arbitrator condition the withdrawal upon such
terms as he or she may direct.” Given the extensive litigation and costs incurred for this
arbitration, Target requests that the Arbitrator allow the withdrawal of ISTC's claims only
on the condition that they are dismissed with prejudice, and that Target is declared the
prevailing party for purposes of those claims.

Additionally, as of this time, Target intends to continue pursuing its
counterclaims.

Respectfully,
s/ Kerry L. Bundy
Kerry L. Bundy

cc: Counsel of Record (by email)
EXHIBIT F
 

In the Matter of an Arbitration Between: JAMS Reference #: 1390000711
International Seaway Trading Corporation,
Claimant,

¥.

Target Corporation,

Respondent.

 

Target Corporation; Target Global Sourcing
Limited, and Target General Merchandise,
Inc.

Minneapolis, Minnesota

Counterclaimants,
v.

International Seaway Trading Corporation,

Counter-Respondent.

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OBJECTION TO ISSUANCE OF ARBITRATION SUMMONS TO LARRY SATZ

Through his counsel, Larry Satz (“deponent”), objects to the proposed issuance of a second
Arbitration Summons commanding him to appear at a virtual deposition on December 17, 2020

and produce documents on the following grounds:
|. These arbitration proceedings are being conducted by an Arbitrator located in the State of
Minnesota, pursuant to paragraph 23 of Target’s POL Contract which requires that discovery ts
permitted as provided by applicable State(of Minnesota) law.

2. Deponent is a resident of the State of Missouri.

3. Minnesota State law (Minn. Stat. section 572B.17) limits the subpoena power of an arbitrator
to witnesses located within that state.

4. To the extent applicable, section 7 of the Federal Arbitration A (9 U.S.C. section 7) does not
authorize the issuance of subpoenas to third party witnesses for pre- hearing discovery, and
Federal Rule of Civil Procedure 45 (b) and (c) limit a district court's subpoena enforcement to
the state in which the hearing is being conducted.

5. Since ISTC, a party to the arbitration, has advised the Arbitrator and Target that it will not be
pursuing its claim and will not be defending Target’s counterclaim, (to which Target has agreed,
provided that it is declared the prevailing party),there are no issues of liability or damages to
which the ownership of ISTC in 2014 or now, could possibly be relevant, including but not
limited to ISTC’s previous defense (now withdrawn, with all other defenses) that Target's POL
contract is in part unconscionable.

6. According to the Joint Stipulation to Amend Scheduling Order No.1 signed by the parties and
the Arbitrator on October 22, 2020, non- expert discovery is to be completed on or before
December 4, 2020 and therefore a proposed deposition to be taken on December 17, 2020 is

untimely.

th
Dated: December 4, 2020

Respectfully submitted,

Hennefer Finley & Wood LLP

Si SCF

 

Steven C. Finley, Attorneys for Larry Satz
EXHIBIT G
JAMS ARBITRATION
Ref. No.: 1390000711

International Seaway Trading
Corporation,

Claimant,
Vv.
Target Corporation,
Respondent. SCHEDULING ORDER NO. 4

Target Corporation; Target Global
Sourcing Limited, and Target General
Merchandise, Inc.

Counterclaimants,
We

International Seaway Trading
Corporation,

Counter-Respondent.

 

This matter comes before the Arbitrator on Target Corporation, Target Global Sourcing Limited,
and Target General Merchandise, Inc.’s (collectively, “Target”) December 4, 2020, request for the issuance
of a subpoena to former International Seaway Trading Corporation (“ISTC”) employee Larry Satz. Counsel

for Mr. Satz submitted a written objection on December 4, 2020.

The Arbitrator heard argument from counsel for Mr, Satz and Target at a telephonic hearing held
on December 8, 2020. Based upon the files, records, proceedings, and arguments of counsel, the Arbitrator

finds as follows:

1. Mr. Satz, a resident of St. Louis, Missouri, was deposed on October 29, 2020, pursuant to a
subpoena issued under JAMS Rules and the Federal Arbitration Act (“FAA”), 9 U.S.C, § 1, et seq. Mr.

Satz was represented by Mr. Steven Finley, then counsel to ISTC,
3. This Arbitration was initiated by Mr. Steven Finley, then counsel to ISTC. The matter is lodged
in Minneapolis, Minnesota. On November 15, 2020, ISTC declared itself to be impecunious and sent an
email communication to the Arbitrator stating it has abandoned its claims in this matter and will allow
Target to proceed with its own claims as Target wishes. Mr. Finley has not filed a subsequent appearance,

but has received notice of later proceedings. Mr. Finely participated in this present discovery dispute.

3. During Mr. Satz’s deposition, Target's counsel sought to inquire into ISTC’s ownership. Mr.
Finley objected to the inquiry, and without seeking an Order from the Arbitrator, instructed Mr. Satz to
decline to answer the question, purportedly on relevancy grounds. During this present hearing, the
Arbitrator informed Mr. Finley that questions of relevancy were issues for the Arbitrator, and not for
counsel. While Mr. Finley could, of course, state an objection, he would be able to raise the question of
admissibility of the evidence at the Arbitration hearing, or with the Arbitrator. Further, of course, this is an
Arbitration, and not a state or federal court proceeding; under JAMS Rules, strict adherence to the rules of
evidence is not required, At the present time, and for purposes of this Arbitration, the Arbitrator considers

that ISTC ownership might well be relevant, and is a proper subject for inquiry

4. On November 11, 2020, the Arbitrator ordered that Target was permitted to inquire into ISTC’s
ownership. The identity of ISTC’s owners may well be relevant to Target's claims in the arbitration, and at

this time is a permitted inquiry, subject to possible later objection on a developed record,
5. ISTC has failed to comply with the Arbitrator’s November | 1, 2020 Order.

6. On December 4, 2020 Target requested the issuance of a subpoena for Mr. Satz to inquire into
ISTC’s ownership. Mr. Satz, through Mr. Finley as his counsel, submitted a written objection that same

day.
7. JAMS Comprehensive Arbitration Rule 21 states as follows:

At the written request of a Party, all other Parties shall produce for the Arbitration Hearing all
specified witnesses in their employ or under their control without need of subpoena. The Arbitrator
may issue subpoenas for the attendance of witnesses or the production of documents either prior to
or at the Hearing pursuant to this Rule or Rule 19(c). The subpoena or subpoena duces tecum shall
be issued in accordance with the applicable law. Pre-issued subpoenas may be used in jurisdictions
that permit them. In the event a Party or a subpoenaed person objects to the production of a witness
or other evidence, the Party or subpoenaed person may file an objection with the Arbitrator, who
shall promptly rule on the objection, weighing both the burden on the producing Party and witness
and the need of the proponent for the witness or other evidence.

8. Mr. Satz’s objections do not warrant denying the request for a subpoena. Under the FAA and
Eighth Circuit precedent, an arbitrator has the power to subpoena a third-party witness during pre-hearing
discovery, See, e.g., In re Sec, Life Ins. Co. of Am,. 228 F.3d 865, 870-71 (8th Cir, 2000).
Therefore, based on applicable rules and governing law, it is within the Arbitrator’s authority to

issue a pre-hearing subpoena to Mr, Satz.

9. Mr. Satz argues that the subpoena exceeds the scope of discovery allowed under Target's
agreement with ISTC. The parties have agreed since commencement of the arbitration that discovery,
including third-party discovery, is appropriate, (See Scheduling Order No. 1.) Further, the Arbitrator

previously has issued similar subpoenas under the FAA at the request of both parties.

10. The Arbitrator notes that Mr. Satz appeared for his deposition on October 29 pursuant to such
a subpoena. Thus, based on the parties’ agreement and conduct, the Arbitrator concludes that the FAA

applies to the issuance of subpoenas in this matter.

11. Mr. Satz also argues that the Arbitrator should not issue the requested subpoena because the
deposition will take place after the Arbitrator’s previously established close of fact discovery, The
objection is spurious, in that the only reason the now-requested subpoena is necessary is Mr. Finley’s ill-
considered instruction to Mr. Satz to decline to answer the question now under consideration. Further, of

course, the Arbitrator is certainly entitled to adjust an arbitrarily-set discovery close, and now opts to do so.

12. Mr. Finley did not claim, nor does the Arbitrator perceive, any undue burden on Mr. Satz which

might be imposed by a limited continuance of his uncompleted deposition.

Therefore, IT IS HEREBY ORDERED that Target's Request for a Subpoena to Larry Satz is
GRANTED.

1. Fact discovery is extended for the limited purpose of allowing Target to inquire into ISTC’s

ownership.

2. Under JAMS Rule 21, Target is entitled to the issuance of a subpoena for Larry Satz. Target's

need for the information outweighs any burden of production on Mr. Satz.

3. Target will submit, and the Arbitrator will issue, a subpoena that allows for 3 hours of
deposition of Larry Satz, during which Target's examination is limited to questions concerning

ISTC’s ownership.

SO ORDERED on this 15" day of December, 2020.

_s/James M. Rosenbaum
Hon. James M. Rosenbaum (Ret.)
JAMS Arbitrator
EXHIBIT H
JAMS ARBITRATION
Case No. 1390000711

In the Matter of an Arbitration Between:

International Seaway Trading Corporation.
Claimant,
V.

Target Corporation,

Respondent.

 

 

Target Corporation, Target Global Sourcing
Limited, and Target General Merchandise,
Ine.

Counterclaimants,

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International Seaway Trading Corporation,

Counter-Respondent.

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Minneapolis, Minnesota

ARBITRATION SUMMONS TO APPEAR FOR DEPOSITION AND
BRING DOCUMENTARY EVIDENCE

To:

Larry Satz, 215 S Mason Rd., Saint Louis, MO 63141-8026

By the authority conferred on the undersigned Arbitrator by Section 7 of the Federal
Arbitration Act (9 U.S.C. § 7), you are hereby SUMMONED to attend as a witness at a 3-hour
follow-up deposition to be held on January 6, 2021 at 10:30 CST by virtual means (instructions
will be provided by the court reporter), and to bring with you the documents identified in
 

Schedule A annexed to this SUMMONS. The deposition will continue from day to day until
completed, or may be continued until completed at a future date.

If you shall refuse or neglect to obey this SUMMONS, the United States District Court
for the District of Minnesota, upon petition, may compel your attendance. or punish you for
contempt in the same manner provided by law in the courts of the United States.

You may address questions concerning this SUMMONS to the attormeys identified below
who requested this SUMMONS. Any application by you to quash or modify this SUMMONS in
whole or in part should be addressed to the Arbitral Tribunal in writing. with copies to counsel
for the parties, except that a motion upon the ground that the SUMMONS ts unenforceable under
Section 7 of the U.S. Arbitration Act may also be addressed to the United States District Court
for the District of Minnesota.

The attorneys who requested this subpoena are:

Kerry L. Bundy
Aerry.Bundv(@faegredrinker.com
Lauren W. Linderman
Lauren, Linderman@saegredrinker.com
2200 Wells Fargo Center
90 South Seventh Street
Minneapolis, MN 55402-3901
Phone: (612) 766-7000
Fax: (612) 766-1600

The following provisions of Fed. R. Civ. P. Rule 45 are attached — Rule 45(c), relating to
the place of compliance; Rule 45(d), relating to your protection as a person subject to a
subpoena: and Rules 45(e) and (g), relating to your duty to respond to this subpoena and the
potential consequences of not doing so.

Dated: December 15, 2020

sJames M. Rosenbaum

Hon. James M. Rosenbaum (Ret.)
333 So. Seventh St., Suite 2550.
Minneapolis, MN 35402
612-332-8225

jrosenbaum(@ jamsadr.com
 

SCHEDULE A
Pursuant to JAMS Rule 21, Section 7 of the Federal Arbitration Act, 9 U.S.C. § 1, er seq.
and Rule 45 of the Federal Rules of Civil Procedure, Respondent/Counterclaimant Target
Corporation and Counterclaimants Target Global Sourcing Limited and Target General
Merchandise, Inc. (collectively, “Target”) hereby request and demand that Larry Satz bring the

follow documents for inspection and copying to the deposition noticed above.

DEFINITIONS

l. “ISTC,” or “Claimant,” shall mean Claimant International Seaway Trading
Corporation, including without limitation its predecessors in interest, agents, representatives,
employees, consultants, attorneys, or entities acting im conjunction, joint venture. or partmership
with it, or any entities acting under its direction or control.

a: “Document” shall mean any medium upon which information is or can be
recorded and shall include originals, reproductions, and drafts, and specifically includes, but is
not limited to, materials in electronic format, memoranda, notes, inter-office and intra-office
communications, telegrams, letters, e-mail, data, reports, accounts, records, calendars, diaries,
minutes, contracts or other legal documents, insurance policies, telephonic or personal
communications, tape recordings, microfilm, film, stenographic notes, bulletins, notices, and
computer data. Without limiting the foregoing, the term “Document” or “Documents” shall
indicate any copy which differs in any respect from the original or other versions of the
Document, such as copies containing notations, insertions, corrections, marginal notes or any

other variations.

3 As used herein, the singular form of a noun or a pronoun shall be considered to

include within its meaning the plural form of the noun or pronoun so used, and vice versa; the
use of the masculine form of a pronoun shall be considered to include also within its meaning the
feminine form of the pronoun so used, and vice versa: the use of any tense of any verb shall be
considered to include within its meaning all other tenses of the verb so used.

DOCUMENTS REQUESTED

REQUEST NO. 1: Documents sufficient to show the ownership of ISTC from 2014 to
present,
10/7/2020 Rule 45, Subpoena | Federal Rules of Civil Procedure | US Law | LID! Legal Information Institute

Rule 45. Subpoena
(a) IN GENERAL.
(1) Form and Contents.
(A) Requirements—In General. Every subpoena must:
(i) state the court from which it issued;
(ii) state the title of the action and its civil-action number;

(iii) command each person to whorn it is directed to do the following at a specified time and place:
attend and testify; produce designated documents, electronically stored information, or tangible things in
| that person's possession, custody, or control; or permit the inspection of premises; and

(iv) set out the text of Rule 45(d) and (e),

(B) Command to Attend a Deposition—Notice of the Recording Method. A subpoena commanding
attendance at a deposition must state the method for recording the testimony.

| (C) Combining or Separating a Command to Produce or ta Permit Inspection; Specifying the Form for

| Electronically Stored Information, A command to produce documents, electronically stored information, or
tangible things or to permit the inspection of premises may be included in a subpoena commanding

| attendance at a deposition, hearing, or trial, or may be set out in a separate subpoena. A subpoena may

specify the form or forms in which electronically stored information is to be produced.

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(D) Command te Produce; Included Obligations. A command in a subpoena to produce documents,
electronically stored information, or tangible things requires the responding person to permit inspection,
copying, testing, or sampling of the materials.

(2) Issuing Court. A subpoena must issue from the court where the action is pending.

(3) Issued by Wham. The clerk must issue a subpoena, signed but otherwise in blank, to a party who
requests it. That party must complete it before service. An attorney also may issue and sign a subpoena if
the attorney is authorized to practice in the issuing court.

(4) Notice to Other Parties Before Service. If the subpoena commands the production of documents,
electronically stored information, or tangible things or the inspection of premises before trial, then before it

is served on the person to whom it is directed, a notice and a copy of the subpoena must be served on each
party.

(b) Service.
(1) By Whom and How; Tendering Fees. Any person who is at least 18 years old and not a party may serve
a subpoena. Serving a subpoena requires delivering a copy to the named person and, if the subpoena

requires that person's attendance, tendering the fees for 1 day's attendance and the mileage allowed by law.

Fees and mileage need not be tendered when the subpoena issues on behalf of the United States or any of
its officers or agencies,

(2) Service in the United States, A subpoena may be served at any place within the United States.

(3) Service in a Foreign Country. 28 U.S.C. §1783 governs issuing and serving a subpoena directed to a
United States national or resident who is in a foreign country.

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HovT2020 Rule 45. Subpoena | Federal Rules of Civil Procedure | US Law | LIl/ Legal Information Institute

 

 

(4) Proof of Service. Proving service, when necessary, requires filing with the issuing court a statement
showing the date and manner of service and the names of the persons served. The statement must be

certified by the server.
(c) Place oF COMPLIANCE.
(1) For a Trial, Hearing, or Deposition. A subpoena may command a person to attend a trial, hearing, or
deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or reqularly transacts business in person;
or
(B) within the state where the person resides, is employed, or regularly transacts business in person, if
the person
(i) is a party or a party's officer; or
(ii) is commanded to attend a trial and would not incur substantial expense.

(2) For Other Discovery. A subpoena may command:
(A) production of documents, electronically stored information, or tangible things at a place within 100
miles of where the person resides, is employed, or regularly transacts business in person, and
(B) inspection of premises at the premises to be inspected.
(d) PROTECTING A PERSON SUBJECT TO A SUBPOENA; ENFORCEMENT.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney responsible for issuing and serving
a subpoena must take reasonable steps to avoid imposing undue burden or expense on a person subject to
the subpoena. The court for the district where compliance is required must enforce this duty and impose an
appropriate sanction—which may include lost earnings and reasonable attorney's fees—on a party or
attorney who fails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce documents, electronically stored
information, or tangible things, or to permit the inspection of premises, need not appear in person at the
place of production or inspection unless also commanded to appear for a deposition, hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible things or to permit inspection
may serve on the party or attorney designated in the subpoena a written objection to inspecting, copying,
testing or sampling any or all of the materials or to inspecting the premises—or to producing electronically
stored information in the form or forms requested. The objection must be served before the earlier of the
time specified for compliance or 14 days after the subpoena is served. If an objection is made, the
following rules apply:

(i) At any time, on notice to the commanded person, the serving party may move the court for the
district where compliance is required for an order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the order must protect a person who
is neither a party nor a party's officer from significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where compliance is required must quash
or modify a subpoena that:

(i) fails to allow a reasonable time to comply;
(ii) requires a person to comply beyond the geographical limits specified in Rule 45(c¢);
(iii) requires disclosure of privileged or other protected matter, if no exception or waiver applies; or

fiv) subjects a person to undue burden,

https:/hwww.law.cormell.edu/rules/frepirule_45 26
MOT2020 Rute 45, Subpoena | Federal Rules of Civil Procedure | US Law | LI! / Lagal Information Institute

 

(B) When Permitted. To protect a person subject to or affected by a subpoena, the court for the district
where compliance is required may, on motion, quash or modify the subpoena iF it requires:

(i) disclosing a trade secret or other confidential research, development, or commercial information; or

(ii) disclosing an unretained expert's opinion or information that does not describe specific occurrences
in dispute and results from the expert's study that was not requested by a party.

(C) Specifying Conditions as an Alternative. In the circumstances described in Rule 45(d)(3)(B), the
court may, instead of quashing or modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be otherwise met without undue
hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.
(@) Duties IN RESPONDING TO A SUBPOENA.

(1) Preducing Documents or Electronically Stored Information. These procedures apply to producing
documents or electronically stored information:

(A) Documents. A person responding to a subpoena to produce documents must produce them as they
are kept in the ordinary course of business or must organize and label them to correspond to the
categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified. If a subpoena does not specify a
form for producing electronically stored information, the person responding must produce it ina form or
forms in which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The person responding need not
produce the same electronically stored information in more than one form.

(D) Inaccessible Electronically Stored Information. The person responding need not provide discovery of
electronically stored information from sources that the person identifies as not reasonably accessible
because of undue burden or cost. On motion to compel discovery or for a protective order, the person
responding must show that the information is not reasonably accessible because of undue burden or cost,
If that showing is made, the court may nonetheless order discovery from such sources if the requesting
party shows good cause, considering the limitations of Rule 26(b)( 2)(C). The court may specify conditions
for the discovery.

(2) Claiming Privilege or Protection.

(A) Information Withheld. A person withholding subpoenaed information under a claim that it is
privileged or subject to protection as trial-preparation material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or tangible things in a manner
that, without revealing information itself privileged or protected, will enable the parties to assess the
claim.

(B) Information Produced. If information produced in response to a subpoena is subject to a claim of
privilege or of protection as trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being notified, a party must promptly
return, sequester, or destroy the specified information and any copies it has; must not use or disclose the
information until the claim is resolved; must take reasonable steps to retrieve the information if the party
disclosed it before being notified; and may promptly present the information under seal to the court for the
district where compliance is required for a determination of the claim, The person who produced the
information must preserve the information until the claim is resolved.

https: wwwilaw.cornell.ecu/rules/rcpirule_45 a6
or7/2020 Rule 45. Subpoena | Federal Rules of Civil Procedure | US Law| LII / Legal Information Institute

(f) TRANSFERRING A SUBPOENA-RELATED Motion. When the court where compliance is required did not issue the
subpoena, it may transfer a motion under this rule to the issuing court if the person subject to the subpoena
consents or if the court finds exceptional circurnstances. Then, if the attorney for a person subject to a
subpoena is authorized to practice in the court where the motion was made, the attorney may file papers and
appear on the motion as an officer of the issuing court, To enforce its order, the issuing court may transfer the
order to the court where the motion was made.

(g) Contempt, The court for the district where compliance is required — and also, after a motion is transferred,
the issuing court — may hold in contempt a person who, having been served, fails without adequate excuse to
obey the subpoena or an order related to it.

NoTEs

(As amended Dec. 27, 1946, eff. Mar. 19, 1948; Dec. 29, 1948, eff. Oct. 20, 1949; Mar. 30, 1970, eff. July 1,
1970; Apr, 29, 1980, eff. Aug. 1, 1980; Apr. 29, 1985, eff. Aug. 1, 1985; Mar. 2, 1987, eff. Aug. 1, 1987; Apr.
30, 1991, eff. Dec. 1, 1991; Apr. 25, 2005, eff. Dec. 1, 2005; Apr. 12, 2006, eff. Dec, 1, 2006; Apr. 30, 2007,
eff. Dec, 1, 2007; Apr. 16, 2015, eff. Dec, 1, 2013.)

Notes oF Apvisory COMMITTEE ON RULES—1937

This rule applies to subpoenas ad testificandum and duces tecum issued by the district courts for attendance
at a hearing or a trial, or to take depositions. It does not apply to the enforcement of subpoenas issued by
administrative officers and commissions pursuant to statutory authority. The enforcement of such subpoenas
by the district courts is regulated by appropriate statutes. Many of these statutes do not place any territorial
limits on the validity of subpoenas so issued, but provide that they may be served anywhere within the United
States. Among such statutes are the following:

U.S.C., Title 7, §§222 and 511n (Secretary of Agriculture)

U.S.C., Title 15, §49 (Federal Trade Commission)

U.S.C., Title 15, §§77v(b), 78u(c), 79r(d) (Securities and Exchange Commission)

U.S.C., Title 16, §§797(g) and 825f (Federal Power Commission)

U.5.C., Title 19, §1333(b) (Tariff Commission)

U.S.C., Title 22, §§268, 270d and 270e (International Commissions, etc. }

U.S.C., Title 26, §§614, 619(b) [see 7456) (Board of Tax Appeals)

U.S.C., Title 26, §1523(a) [see 7608] (Internal Revenue Officers)

U.5.C., Title 29, §161 (Labor Relations Board)

U.S.C., Title 33, §506 (Secretary of Army)

U.S.C., Title 35, §§54-56 [now 24] (Patent Office proceedings)

U.S.C., Title 38, [former] §133 (Veterans’ Administration)

U.S.C., Title 41, §39 (Secretary of Labor)

U.S.C., Title 45, 9157 Third. (h) (Board of Arbitration under Railway Labor Act)

U.S.C., Title 45, §222(b) (Investigation Commission under Railroad Retirement Act of 1935)
U.S.C., Tittle 46 [App.], §1124(b) (Maritime Commission)

U.S.C., Title 47, §409(c) and (d) (Federal Communications Commission)

U.S.C., Title 49, §12(2) and (3) [see 721(c) and 13301(c)] (Interstate Commerce Commission)
U.S.C., Title 49, §173a [see 46104] (Secretary of Commerce)

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EXHIBIT |
Steven Finley

From: Steven Finley

Sent: Monday, December 21, 2020 1:23 PM
To: Washburn, Bryan K.

Cc: Bundy, Kerry L.; Linderman, Lauren W.
Subject: RE: Target/ISTC--Subpoena for Larry Satz
Okay.

Sincerely,

Steven C. Finley

Hennefer, Finley & Wood, LLP
11 Embarcadero West, Suite 140
Oakland CA 94607

Tel: (510) 272-0200 ext. 305

Fax: (415)296 7111

E-mail: sfinley@finleylaw.biz
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From: Washburn, Bryan K. [mailto:bryan.washburn@faegredrinker.com]

Sent: Saturday, December 19, 2020 5:35 AM

To: Steven Finley <sfinley@finleylaw.biz>

Cc: Bundy, Kerry L. <kerry.bundy@faegredrinker.com>; Linderman, Lauren W. <lauren.linderman@faegredrinker.com>
Subject: RE: Target/ISTC-Subpoena for Larry Satz

Mr. Finley,

Thank you for your email. We propose holding Mr. Satz’s deposition on January 14 starting at 10:30 CST. We would
still expect Mr. Satz’s document production by January 6. Please let us know if Mr. Satz would prefer to produce
electronically or would need to produce the documents somewhere in the St. Louis area.

Thanks,
Bryan

Bryan kK. Washburn

Associate

bryan. washburn faegredrinker.com
Connect: vCard

+1612 766 8014 direct / +1 612 766 1600 fax

Facere Drinker Hiddle & Reath ue
2200 Wells Fargo Center, 90 South Seventh Street
Minneapolis, Minnesota 55402, USA
From: Steven Finley <sfinley@finleylaw.biz>

Sent: Friday, December 18, 2020 4:07 PM

To: Washburn, Bryan K. <bryan.washburn@faegredrinker.com>

Cc: Bundy, Kerry L. <kerry.bundy@faegredrinker.com>; Linderman, Lauren W. <lauren.linderman@faegredrinker.com>
Subject: RE: Target/ISTC--Subpoena for Larry Satz

This Message originated outside your organization.

 

| am requesting that the return date on the subpoena be set for a date in the week of January 11 (other than the 13").
Please advise.

Sincerely,

Steven C. Finley

Hennefer, Finley & Wood, LLP
11 Embarcadero West, Suite 140
Oakland CA 94607

Tel: (510) 272-0200 ext. 305

Fax: (415)296 7111

E-mail: sfinley@finleylaw. biz
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please notify us immediately by telephone. Thank you.

From: Washburn, Bryan K. [mailto:bryan.washburn@faegredrinker.com]

Sent: Tuesday, December 15, 2020 1:01 PM

To: Steven Finley <sfinley@finleylaw.biz>

Cc: Bundy, Kerry L. <kerry.bundy@faegredrinker.com>; Linderman, Lauren W. <lauren.linderman@faepredrinker.com>
Subject: Target/ISTC--Subpoena for Larry Satz

Mr. Finley,

Attached please find the executed subpoena in the above-referenced matter. Please let us know if you will accept service
on behalf of Mr, Satz. The deposition is ordered for January 6, but we can work with you on the date for another time in
early January.

Thanks,
Bryan

Bryan K. Washburn

Associate

bryan. washburn(@)faegredrinker.com
Connect: vCard

+1 612 766 8014 direct / +1 612 766 1600 fax

 
Facere Drinker Biddle & Reath LLP
2200 Wells Fargo Center, 90 South Seventh Street
Minneapolis, Minnesota 55402, USA

Welcome to Faegre Drinker Biddle & Reath LLP (Faegre Drinker) - a new firm comprising the former Faegre Baker
Daniels and Drinker Biddle & Reath. Our email addresses have changed with mine noted in the signature block. All phone
and fax numbers remain the same. As a top 50 firm that draws on shared values and cultures, our new firm is designed for
clients.

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